 Case 2:22-cv-01272-MEMF-AGR Document 46-1 Filed 07/21/22 Page 1 of 18 Page ID
                                  #:304

 1
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 7   POLLOCK COHEN LLP                              JAY KUMAR LAW
     Raphael Janove (admitted pro hac vice)         Jay Kumar
 8   rafi@pollockcohen.com                          jay@jaykumarlaw.com (admitted pro hac vice)
 9   Adam Pollock (admitted pro hac vice)           73 W. Monroe Street, Suite 100
     adam@pollockcohen.com                          Chicago, IL 60603
10   111 Broadway, Suite 1804                       Telephone: (312) 767-7903
     New York, NY 10006
11   Telephone: (212) 337-5361
12
                                  UNITED STATES DISTRICT COURT
13                               CENTRAL DISTRICT OF CALIFORNIA
                                       WESTERN DIVISION
14
     CHARISSA KEEBAUGH, STEPHANIE                     Case No. 2:22-cv-01272-MEMF (AGRx)
15   NEVEU, HEATHER MERCIERI, SOPIDA
     NICHOLSON, and P.W., by and through              DECLARATION OF RAPHAEL JANOVE IN
16                                                    SUPPORT OF PLAINTIFFS' OPPOSITION
     JOIE WEIHER, on behalf of themselves and
17   all others similarly situated,                   TO DEFENDANT'S MOTION TO COMPEL
                                                      ARBITRATION AND STAY PROCEEDINGS
18                         Plaintiffs,

19          V.                                        Date:        October 6, 2022
                                                      Time:        10:00 a.m.
20   WARNER BROS. ENTERTAINMENT                       Before:      Hon. Maame Ewusi-Mensah
     INC., a Delaware corporation,                                 Frimpong
21
                                                      Ctrm.:       8B
                           Defendant.
22
23

24

25

26

27

28

     Case No. 2:22-cv-01272-MEMF (AGRx)                   JANOVE DECL ISO PLNTF'S OPP. TO DEF'S
                                                          MOTION TO COMPEL ARBITRATION
Case 2:22-cv-01272-MEMF-AGR Document 46-1 Filed 07/21/22 Page 2 of 18 Page ID
                                 #:305



  1          RAPHAEL JANOVE declares under penalty of perjury of the laws of the United States as

  2   follows.

  3          1.      I am an attorney and counsel of record for Plaintiffs in the above-captioned action. I

  4   make this declaration in support of Plaintiffs' Opposition to Defendant's Motion to Compel Arbitration

  5   and Stay Proceedings.

  6          2.      I have personal lmowledge of the matters set forth herein and am competent to testify

  7   upon them if called upon to do so.

  8          3.      Attached as Exhibit A is a true and correct copy of email correspondence between

  9   counsel for the Parties, dated July 11-19, 2022.

             4.      Attached as Exhibit B is a true and correct copy of email correspondence, with

 11   highlighting added, between counsel for the Parties regarding the provision ofplayer IDs, as referenced

 12   in Exhibit A, dated June 3-10, 2022.

 13

 14          I declare under penalty of perjury under the laws of the United States that the foregoing is true

 15   and correct.

 16
 17   Executed on July 21, 2022 in Portland, Oregon.

 18

 19

 20

 21

 22

 23

 24

 25

 26
 27

 28

      Case No. 2:22-CV-01272-MEMF (AGRx)                       JANOVE DECL ISO PLNTF'S OPP. TO DEF'S
                                                               MOTION TO COMPEL ARBITRATION
Case 2:22-cv-01272-MEMF-AGR Document 46-1 Filed 07/21/22 Page 3 of 18 Page ID
                                 #:306




                             EXHIBIT A




                                  Exhibit A - 2
        Case 2:22-cv-01272-MEMF-AGR Document 46-1 Filed 07/21/22 Page 4 of 18 Page ID
                                         #:307

Jasper Eagleton

From:                                Fuster, Patrick J. <PFuster@gibsondunn.com>
Sent:                                Tuesday, July 19, 2022 6:50 PM
To:                                  Raphael Janove
Cc:                                  Smith, Jeremy S.; Chorba, Christopher; Karl Kronenberger; Kate Hollist; Jay Kumar;
                                     Jordan Marcus; Adam Pollock
Subject:                             RE: Keebaugh v. Warner Bros - 22-cv-1272



Hi Rafi,

We disagree with your characterization of our motion and our prior correspondence about the display names,
which speaks for itself. While I appreciate the offer to chat, I agree that we have nothing left to discuss at the
moment.

Thanks,
Patrick


Patrick J. Fuster



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From: Raphael Janove <rafi@pollockcohen.com>
Sent: Tuesday, July 19, 2022 3:01 PM
To: Fuster, Patrick J.<PFuster@gibsondunn.com>
Cc: Smith, Jeremy S. <JSSmith@gibsondunn.com>; Chorba, Christopher <CChorba@gibsondunn.com>; Karl
Kronenberger <karl@krinternetlaw.com>; Kate Hollist <kate@krinternetlaw.com>; Jay Kumar <jay@jaykumarlaw.com>;
Jordan Marcus <jordan@pollockcohen .com>; Adam Pollock <Adam@pollockcohen.com>
Subject: Re: Keebaugh v. Warner Bros - 22-cv-1272

[WARNING: External Email]
Hi Patrick,

We weren't asking for different graphics, but instead wanted to know what date range(s) Exhibits 5,6,7 were displayed to players.
The Wold man Declaration is silent as to dates, though your Motion is not.

The Judge can decide whether Defendant carried its evidentiary burden, but Plaintiffs do not need additional information about
specific graphic images. Whether it was Tyrion Lannister or the dragons used as the background art, Defendants' Motion to Compel
fails as to each and every plaintiff.

That said, for the purposes of our opposition, we are assuming that Exhibit 5 was displayed until December 2019 and that at that
point, what you term the "sign-in flow" changed, too.

Lastly, I'm a bit surprised about your inaccurate--and I believe unfair--characterization of the issue of player IDs. We are not
"withholding" nor are "continu[ing] to withhold" this information. We offered it to you before you filed the Motion. But you declined

                                                                  1
                                                            Exhibit A - 3
        Case 2:22-cv-01272-MEMF-AGR Document 46-1 Filed 07/21/22 Page 5 of 18 Page ID
                                         #:308
and filed the Motion with the factual support you deemed sufficient to carry Defendant's burden. And the information we requested
after you filed the Motion does not require the user IDs, either.

I think there's nothing left to discuss on this issue and Plaintiffs will file the opposition on Thursday. However, I'm happy to chat if
you'd like. I'm free for the next couple of hours.

Best,

Rafi




On Tue, Jul 19, 2022 at 2:43 PM Fuster, Patrick J. <PFuster@gibsondunn.com> wrote:

 Hi Rafi,



 Just following up on our email from last Wednesday. To be clear, we do not believe that the background art is
 relevant to the motion to compel arbitration. Your clients necessarily completed at least one of two sign-in
 flows to access GOTC. We accurately represented both sign-in flows, including their layout and text, which
 was the issue in the two cases you cited below. See In re Stubhub Refund Litig., 2021 WL 5447006, at *8
 (N.D. Cal. Nov. 22, 2021); Snow v. Eventbrite, Inc., 2020 WL 6135990, at *5 (N.D. Cal. Oct. 19, 2020). And
 our filings also explained that "the graphic art varied over time." Woldman Deel. ,r 7, Dkt. 41-1.



 Still, we remain willing to provide you the background art. But we reiterate that we cannot determine the
 specific background art that the plaintiffs would have seen if you continue to withhold your clients' current or
 last-used display names. By withholding this basic information, you are, in effect, forcing the defendant to
 litigate this case without knowing who the plaintiff is. Again, we don't believe this affects the motion to
 compel arbitration, because our motion identified all of the applicable sign-in flows during the relevant time
 period and established that all players had to agree to the arbitration clause before playing the game. But if
 you want this information, then we need the display names to give you exactly what you've requested.



 Please let me know if you'd like to discuss more in advance of filing your opposition on Thursday.



 Best,

 Patrick



 Patrick J. Fuster



 GIBSON DUNN
                                                                     2
                                                               Exhibit A - 4
     Case 2:22-cv-01272-MEMF-AGR Document 46-1 Filed 07/21/22 Page 6 of 18 Page ID
                                      #:309
Gibson, Dunn & Crutcher LLP
333 South Grand Avenue, Los Angeles, CA 90071-3197
Tel +1 213.229.7117 • Fax +1 213.229.6117
PFuster@gibsondunn.com • www.gibsondunn.com




From: Fuster, Patrick J. <PFuster@gibsondunn .com >
Sent: Wednesday, July 13, 2022 6:50 PM
To: Raphael Janove <rafi@pollockcohen.com >
Cc: Smith, Jeremy S. <JSSmith@gibsondunn.com>; Chorba, Christopher <CChorba@gibsondunn.com>; Karl
Kronenberger <karl@krinternetlaw.com >; Kate Hollist <kate@krinternetlaw.com>; Jay Kumar
<jay@jaykumarlaw.com>; Jordan Marcus <jordan@pollockcohen.com>; Adam Pollock <Adam@pollockcohen.com>
Subject: RE: Keebaugh v. Warner Bros - 22-cv-1272




We can share with you that, according to a preliminary review of our records, the affirmation language
changed from the "I agree" language (the left image in the motion) to the "I accept" language (the right image
in the motion) on or about December 19, 2019. (You'll see that your quotes below line up with the
approximate date on which the screen changed.) But the background art varied from time to time. To
research the background art for the correct date, we need the player IDs to confirm the date on which they
first logged into the game.



Let me know if you have more questions.



Patrick J. Fuster



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From: Raphael Janove <rafi@pollockcohen.com >
Sent: Wednesday, July 13, 2022 5:28 PM
To: Fuster, Patrick J.<PFuster@gibsondunn.com>
Cc: Smith, Jeremy S. <JSSmith@gibsondunn.com>; Chorba, Christopher <CChorba@gibsondunn.com>; Karl
Kronenberger <karl@krinternetlaw.com >; Kate Hollist <kate@krinternetlaw.com>; Jay Kumar
<jay@jaykumarlaw.com>; Jordan Marcus <jordan@pollockcohen .com >; Adam Pollock <Adam@pollockcohen .com>
Subject: Re: Keebaugh v. Warner Bros - 22-cv-1272




[WARNING: External Email]


Hi Patrick,
                                                           3
                                                      Exhibit A - 5
       Case 2:22-cv-01272-MEMF-AGR Document 46-1 Filed 07/21/22 Page 7 of 18 Page ID
                                        #:310


Sorry, but I'm a little confused and hopefully you can clarify.




It was our understanding from the Parties' correspondence on June 7 & 8, 2022, that, although Warner Bros. had initially expressed
interest in the player IDs, it ultimately decided those were not needed for the Motion. Also, it appears that Warner Bros. already
knows when these sign-up screens were displayed.




For instance, the Motion states that the sign-up screen in Waldman Deel. Exhibit 5 was in place between July 2018 and June 2019,
even though there is no factual support for this in the Waldman declaration. See Mot. at 3 ("Ms. Mercieri and Ms. Neveu allege
that they began playing Game of Thrones: Conquest in July 2018 and June 2019, respectively . . .. At those times, players could not
access the game without first completing the sign-in process by clicking 'Play' on the screen shown on the left above."). Similarly,
the Motion states that Exhibit 7--the one that puzzlingly is labeled "Development Build"-- was available at least between May 2020
and June 2020, once again without factual support. See id. at 4 ("Ms. Keebaugh and Ms. Nicholson allege that they began playing
Game of Thrones : Conquest in May 2020 and June 2020, respectively . . .. At that time, players could not access the game without
first completing the sign-in process by clicking the "Play" button on the screen shown on the right above.").




So it seems like Warner Bros. can easily provide the information requested . Please let me know if I'm missing something.




Thanks,




Rafi




On Wed, Jul 13, 2022 at 5:19 PM Fuster, Patrick J. <PFuster@gibsondunn.com> wrote:

 Rafi,



 I appreciate you reaching out in advance of the opposition. As you know, we asked for your clients' current
 (or last-used) display names so that we could trace them to the underlying user IDs associated with the
 account. We're willing to exchange more specific information about the sign-in screens if you provide what
 we need to try to locate that information-it's not as simple as just giving general date ranges.



 Please let us know if you're willing to give us the information we need to accommodate your request.




                                                                  4
                                                             Exhibit A - 6
   Case 2:22-cv-01272-MEMF-AGR Document 46-1 Filed 07/21/22 Page 8 of 18 Page ID
                                    #:311
Thanks,

Patrick




Patrick J. Fuster



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From: Raphael Janove <rafi@pollockcohen.com >
Sent: Monday, July 11, 2022 10:16 AM
To: Smith, Jeremy S.<JSSmith@gibsondunn.com>; Chorba, Christopher <CChorba@gibsondunn.com>; Fuster, Patrick
J.<PFuster@gibsondunn.com>
Cc: Karl Kronenberger <karl@krinternetlaw.com >; Kate Hollist <kate@krinternetlaw.com>; Jay Kumar
<jay@jaykumarlaw.com>; Jordan Marcus <jordan@pollockcohen.com>; Adam Pollock <Adam@pollockcohen.com>
Subject: Keebaugh v. Warner Bros - 22-cv-1272




[WARNING: External Email]


Hi Patrick,




Can you please let us know when the sign-up screens in the Woldman Declaration were used in the GOTC application, and which
date ranges? We'd like to know which sign-up screens were actually made available to Plaintiffs, particularly given the differences
between Exhibit 5, on one hand, and Exhibits 6&7 on the other, and that Exhibit 7 states "Development Build."




We'd prefer to resolve this factual issue now, before raising it in our opposition. See, e.g., In re Stubhub Refund Litig., 2021 WL
5447006, at *8 (N.D. Cal. Nov. 22, 2021) ("Because the Court does not know what sign-up screen these eight Plaintiffs saw when
they registered, the Court cannot adequately assess whether they received constructive notice of the User Agreement when they
signed up with StubHub."); Snow v. Eventbrite, Inc., 2020 WL 6135990, at *5 (N .D. Cal. Oct. 19, 2020) ("Eventbrite's first problem is
broad and extends to all of its evidence. This motion turns on whether or not the plaintiffs were on inquiry notice based on on line
agreements. Yet the evidence Eventbrite offers does not demonstrate what versions of the sign-in wrap agreements the plaintiffs
would have seen during the relevant time period .").




Please let us know if and when you will provide the requested information, and if Warner Bros. will amend its filings .



                                                                 5
                                                           Exhibit A - 7
         Case 2:22-cv-01272-MEMF-AGR Document 46-1 Filed 07/21/22 Page 9 of 18 Page ID
                                          #:312
  Best,




  Rafi




                                RaphaelJanove
                               Associate
                                o: (215) 667-8607
                                rafi@pollockcohen.com
                                Pronouns: he/him/his


                                Pollock I Cohen LLP
                                111 Broadway, Ste. 1804; New York, NY 10006
                                1617 John F. Kennedy Blvd., 20th Fl. ; Philadelphia, PA 19103




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                                                                    6
                                                              Exhibit A - 8
Case 2:22-cv-01272-MEMF-AGR Document 46-1 Filed 07/21/22 Page 10 of 18 Page ID
                                  #:313




                             EXHIBITB




                                  Exhibit B - 9
       Case 2:22-cv-01272-MEMF-AGR Document 46-1 Filed 07/21/22 Page 11 of 18 Page ID
                                         #:314

Jasper Eagleton

From:                             Kate Hollist
Sent:                             Friday, June 10, 2022 1:31 PM
To:                               Fuster, Patrick J.; Smith, Jeremy S.; Karl Kronenberger; jay@jaykumarlaw.com; Raphael
                                  Janove; Adam Pollock
Cc:                               Chorba, Christopher
Subject:                          RE: Keebaugh v. Warner Bros. - Meet and Confer



Hi Patrick,

To clarify, we will not oppose your request to set a further responsive pleading deadline following disposition of the
MTC. You may affix Karl's signature.

Thank you,

Kate


From: Fuster, Patrick J.<PFuster@gibsondunn.com>
Sent: Friday, June 10, 2022 11:20 AM
To: Kate Hollist <kate@krinternetlaw.com>; Smith, Jeremy S.<JSSmith@gibsondunn.com>; Karl Kronenberger
<karl@krinternetlaw.com>; jay@jaykumarlaw.com; Raphael Janove <rafi@pollockcohen.com>; Adam Pollock
<Adam@pollockcohen.com>
Cc: Chorba, Christopher <CChorba@gibsondunn .com>
Subject: RE: Keebaugh v. Warner Bros. - Meet and Confer

Hi Kate,

I'm writing to follow up on the questions below-specifically, (1) asking we have authorization to add Karl's
signature to the briefing schedule stip and (2) confirming that you oppose our request to set a further
responsive pleading deadline following the disposition of the motion to compel. I've reattached the stip here.

Thank you!


Patrick J. Fuster



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From: Fuster, Patrick J.<PFuster@gibsondunn.com>
Sent: Wednesday, June 8, 2022 5:32 PM
To: Kate Hollist <kate@krinternetlaw.com>; Smith, Jeremy S.<JSSmith@gibsondunn.com>; Karl Kronenberger
<karl@krinternetlaw.com >; jay@jaykumarlaw.com ; Raphael Janove <rafi@pollockcohen.com >; Adam Pollock
<Adam@pollockcohen.com >


                                                             1
                                                       Exhibit B - 10
        Case 2:22-cv-01272-MEMF-AGR Document 46-1 Filed 07/21/22 Page 12 of 18 Page ID
                                          #:315
Cc: Chorba, Christopher <CChorba@gibsondunn .com >
Subject: RE: Keebaugh v. Warner Bros. - Meet and Confer

Hi Kate,

1. August 25 works for us too. Given that hearing date, I've proposed a revised briefing schedule that gives
both of us additional time on the briefs and pushes the opposition after your busy week. Those changes are
reflected in the attached. Please let us know if the draft is acceptable and if we have authorization to add your
signature.

2. With regard to our responsive deadline, by "that works for us" do you mean that we should go forward with
the opposed motion to set a further responsive pleading deadline?

3. Thank you for clarifying about the minor-specific arguments. We're ready to move forward with the motion
to compel, but are willing to revisit the exchange of information before you file your opposition.


Patrick J. Fuster



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PFuster@gibsondunn.com • www.gibsondunn.com



From: Kate Hollist <kate@krinternetlaw.com>
Sent: Wednesday, June 8, 2022 12:38 PM
To: Fuster, Patrick J.<PFuster@gibsondunn.com>; Smith, Jeremy S.<JSSmith@gibsondunn.com>; Karl Kronenberger
<karl@krinternetlaw.com >; jay@jaykumarlaw.com ; Raphael Janove <rafi@pollockcohen.com >; Adam Pollock
<Adam@pollockcohen.com >
Cc: Chorba, Christopher <CChorba@gibsondunn.com>
Subject: RE : Keebaugh v. Warner Bros. - Meet and Confer

[WARNING: External Email]
Hi Patrick,

Thanks for your response . A hearing date of August 25 works better on our end (Karl and I will be attending mediation
on the east coast July 12-13, and anticipate flying back on July 14, so it won't be doable for us to file our opposition that
day).

We understand your position re: briefing for the MTD; that works for us.

As for the IDs, thank you for clarifying that WB's position is not a fact-intensive one. However, I do want to be clear that
we intend to raise minor-specific arguments in our briefing. If this means that you will require the minor's ID number for
your own briefing, we're happy to provide that, provided that in exchange you produce to us: (1) any records associated
with that ID number that you contend bind the minor to an agreement to arbitrate; and (2) the audiotracks for the sign-
in screens, as described below.

Let us know if that works for you.

Best,

                                                              2
                                                        Exhibit B - 11
       Case 2:22-cv-01272-MEMF-AGR Document 46-1 Filed 07/21/22 Page 13 of 18 Page ID
                                         #:316

Kate


From: Fuster, Patrick J. <PFuster@gibsondunn.com>
Sent: Wednesday, June 8, 2022 11:17 AM
To: Kate Hollist <kate@krinternetlaw.com>; Smith, Jeremy S.<JSSmith@gibsondunn.com>; Karl Kronenberger
<karl@krinternetlaw.com >; jay@jaykumarlaw.com ; Raphael Janove <rafi@pollockcohen.com >
Cc: Chorba, Christopher <CChorba@gibsondunn.com>
Subject: RE : Keebaugh v. Warner Bros. - Meet and Confer

Kate,

Thanks for getting back to us. I realize now that there may have been some confusion at the meet and
confer. We asked for player IDs in the event that the opposition would raise minor-specific issues, but that
doesn't seem to be your intention. We too don't want or need the motion to be heavily fact-based, and we're
comfortable filing on the current deadline, Monday, without the player IDs.

We would still like to work with you on a schedule that accommodates hearing availability and gives both sides
enough time to brief the opposition and reply. You proposed a Tuesday for the hearing date, but Judge
Frimpong hears her civil law and motion calendar on Thursday mornings. We've proposed August 18, but let
us know if August 25 or some other date works better.

As to the responsive deadline, our position remains that we can file a motion to compel in lieu of a 12(b) motion
or answer. See, e.g., Conrad v. Phone Directories Co., 585 F.3d 1376, 1383 n.2 (10th Cir. 2009) ("If a party files
a motion under FAA §§ 3 and 4, that motion is denied by the court, and the denial is affirmed on interlocutory
appeal, nothing prevents that party from then filing a Rule 12 motion to dismiss."). We will not agree to
parallel briefing because we would lose the benefit of our arbitration agreement if we're forced to brief the
merits while the motion to compel is pending. The question is whether we file a responsive pleading within the
default 14-day period following a final ruling on the motion to compel or if you accommodate our request for
28 days. If you still oppose this request, we're prepared to file a motion requesting the Court to set the deadline
at 28 days.

Best,
Patrick


Patrick J. Fuster



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From: Kate Hollist <kate@krinternetlaw.com >
Sent: Tuesday, June 7, 2022 4:18 PM
To: Smith, Jeremy S. <JSSmith@gibsondunn.com>; Karl Kronenberger <karl@krinternetlaw.com >;
jay@jaykumarlaw.com ; Raphael Janove <rafi@pollockcohen.com >
Cc: Chorba, Christopher <CChorba@gibsondunn.com>; Fuster, Patrick J.<PFuster@gibsondunn.com>
Subject: RE: Keebaugh v. Warner Bros. - Meet and Confer

[WARNING: External Email]

                                                           3
                                                     Exhibit B - 12
        Case 2:22-cv-01272-MEMF-AGR Document 46-1 Filed 07/21/22 Page 14 of 18 Page ID
                                          #:317
Jeremy and Patrick,

Thank you for your patience. Please find attached our red lined changes. For scheduling reasons, we've proposed August
23 as the date for the MTC hearing, and have based our filings deadlines off that, but let us know if that won't work for
you.

The biggest change you'll see is that we included a deadline of Oct 24 th (60 days after the proposed hearing on the MTC)
for Defendant to file its response to the FAC, in the event the judge hasn't issued a ruling on the MTC by then. While
we' re happy to postpone that deadline significantly in the hopes of obtaining clarity from the Court on the MTC in the
meantime, we do not want to be in a position of waiting twelve months for a ruling on the MTC, only to then begin a
second twelve-month timer for a ruling on the newly-briefed MTD. Let us know whether this is agreeable to you.

As for the player IDs of the named Plaintiffs, we are willing to provide those, subject to a few conditions:

    1.   By seven days prior to filing Defendant's MTC, you supply us with copies of any factual information/documents
         on which you plan to rely in advancing your MTC arguments, specifically including (but not limited to) any
         records WB contends support its claim that our clients consented to arbitrate this dispute;
    2.   By the date of filing Defendant' s MTC, you provide us with copies of the audiotrack(s) played in the Game of
         Thrones: Conquest mobile app on any user sign-in screen on which WB claims the user provides agreement to
         arbitrate; and
    3.   In the event that WB's MTC relies heavily on fact-based arguments, where Plaintiffs lack access to the relevant
         facts necessary to rebut these arguments, that WB cooperate with Plaintiffs' efforts to obtain the information
         needed to rebut such arguments (including, as necessary, working with us on deadlines and/or potentially some
         limited-scope discovery). This is another reason why we need the factual background documents/information
         prior to Defendant's MTC deadline-so we can quickly determine whether Plaintiffs need any additional
         clarification or information.

Please advise whether you and WB are amenable to these conditions so that all parties will be in a position to litigate the
MTC.

Best,

Kate




From: Smith, Jeremy S. <JSSmith@gibsondunn.com>
Sent: Tuesday, June 7, 2022 8:49 AM
To: Karl Kronenberger <karl@krinternetlaw.com >; Kate Hollist <kate@krinternetlaw.com>; jay@jaykumarlaw.com
Cc: Chorba, Christopher <CChorba@gibsondunn.com>; Fuster, Patrick J.<PFuster@gibsondunn.com>
Subject: RE : Keebaugh v. Warner Bros. - Meet and Confer

Thank you, Karl.


Jeremy S. Smith

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From: Karl Kronenberger <karl@krinternetlaw.com>
Sent: Tuesday, June 7, 2022 8:48 AM
To: Smith, Jeremy S.<JSSmith@gibsondunn.com>; Kate Hollist <kate@krinternetlaw.com>; jay@jaykumarlaw.com
Cc: Chorba, Christopher <CChorba@gibsondunn.com>; Fuster, Patrick J.<PFuster@gibsondunn.com>
Subject: RE : Keebaugh v. Warner Bros. - Meet and Confer

[WARNING: External Email]
Hi Jeremy,

We will get back to you later today.

Very best,

Karl


From: Smith, Jeremy S. <JSSmith@gibsondunn.com>
Sent: Tuesday, June 7, 2022 8:33 AM
To: Karl Kronenberger <karl@krinternetlaw.com >; Kate Hollist <kate@krinternetlaw.com >; jay@jaykumarlaw.com
Cc: Chorba, Christopher <CChorba@gibsondunn .com >; Fuster, Patrick J.<PFuster@gibsondunn.com>
Subject: RE : Keebaugh v. Warner Bros. - Meet and Confer

Good morning Karl, Kate, and Jay,

I just wanted to check in on our request for the user IDs and proposed schedule.

Thank you,

Jeremy


Jeremy S. Smith

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From: Smith, Jeremy S. <>
Sent: Friday, June 3, 2022 6:00 PM
To: Karl Kronenberger <karl@krinternetlaw.com >; Kate Hollist <kate@krinternetlaw.com>; 'jay@jaykumarlaw.com'
<jay@jaykumarlaw.com>
Cc: Chorba, Christopher <CChorba@gibsondunn.com>; Fuster, Patrick J.<PFuster@gibsondunn.com>
Subject: RE : Keebaugh v. Warner Bros. - Meet and Confer

Hi Karl, Kate, and Jay,

Nice meeting you all earlier. We spoke with our client, and if you can provide your clients' current (or last-used) display
names, we should be able to trace them to the underlying user IDs associated with the account. If any of your clients
don't know their current display names, we can try another method, such as an email address.
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To give us time as you consider this request, we propose adopting a briefing schedule that adds a week for us to file the
motion and a week to both the opposition and reply. That's a total of 3.5 weeks for the opposition and 2 weeks for the
reply. For our schedules, we propose an August 11 hearing but could also make August 18 work. Although it would be
difficult for our schedules, we might be able to do August 4 if necessary.

Attached is a stipulation that reflects that schedule. The stip also sets a date for a further responsive pleading, as
discussed on the meet and confer. Please let us know if it is acceptable or if you have proposed edits.

Thank you,

Jeremy




Jeremy S. Smith

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From: Fuster, Patrick J. <PFuster@gibsondunn .com >
Sent: Thursday, June 2, 2022 9:51 AM
To: Karl Kronenberger <karl@krinternetlaw.com >; Kate Hollist <kate@krinternetlaw.com >
Cc: Smith, Jeremy S. <JSSmith@gibsondunn.com>
Subject: RE: Keebaugh v. Warner Bros. - Meet and Confer

Thanks, Karl, that would be great. See you then.


Patrick J. Fuster



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From: Karl Kronenberger <karl@krinternetlaw.com>
Sent: Thursday, June 2, 2022 9:45 AM
To: Fuster, Patrick J.<PFuster@gibsondunn.com>; Kate Hollist <kate@krinternetlaw.com>
Cc: Smith, Jeremy S. <JSSmith@gibsondunn.com>
Subject: RE: Keebaugh v. Warner Bros. - Meet and Confer

[WARNING: External Email]
Hi Patrick,

So sorry for the delayed response.
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                                         #:320

Tomorrow at 11:00 will be fine . Shall I provide a Zoom link?

Very best,

Karl


From: Fuster, Patrick J. <PFuster@gibsondunn .com >
Sent: Thursday, June 2, 2022 9:37 AM
To: Karl Kronenberger <karl@krinternetlaw.com >; Kate Hollist <kate@krinternetlaw.com >
Cc: Smith, Jeremy S. <JSSmith@gibsondunn.com>
Subject: RE : Keebaugh v. Warner Bros. - Meet and Confer

Hi Karl and Kate,

Just following up on this. Would the two of you be available tomorrow at 11:00 AM or 4:00 PM for the meet
and confer? We also may be able to do Monday afternoon if neither time works for you.

Many thanks,
Patrick


Patrick J. Fuster



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From: Fuster, Patrick J. <PFuster@gibsondunn.com>
Sent: Tuesday, May 31, 2022 12:47 PM
To: Karl Kronenberger <karl@krinternetlaw.com >; Kate Hollist <kate@krinternetlaw.com>
Cc: Smith, Jeremy S. <JSSmith@gibsondunn.com>
Subject: Keebaugh v. Warner Bros. - Meet and Confer

Hi Karl and Kate,

Could you please let us know your availability this week and next Monday for a meet and confer pursuant to
Local Rule 7-3? And to facilitate our discussions about our forthcoming motion to compel arbitration, would
you be able to inform us of the plaintiffs' usernames (and if applicable, the email addresses) that they
registered with Game of Thrones: Conquest? Happy to discuss more if you have any questions.

Thank you,

Patrick


Patrick J. Fuster



GIBSON DUNN
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